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                        UNITED STATES BANKRUPTCY COURT

                         FOR THE DISTRICT OF COLORADO

IN RE:                                  )
                                        )     Case No. 24-12794-KHT
ALES COLLEDANI                          )
                                        )     Chapter 7
  Debtor.                               )

                            CERTIFICATE OF SERVICE

      I certify that on May 29, 2024, I served a complete copy of the AMENDED SCHEDULES
A AND B AND NOTICE OF AMENDMENT TO SCHEDULES on the following parties in
compliance with the Federal Rules of Bankruptcy Procedure and the Court’s Local Rules:


Jeanne Y. Jagow, Esq.
Chapter 7 Trustee
P.O. Box 271088
Littleton, CO 80127




                                        /s/Vicky Martina
                                        Vicky Martina
                                        Kutner Brinen Dickey Riley PC
